Case 2:22-cv-00398-JRG-RSP        Document 198   Filed 06/12/24   Page 1 of 8 PageID #:
                                        34823



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


 MOJO MOBILITY, INC.,

                  Plaintiff,                       Civil Action No. 2:22-CV-00398-
                                                   JRG-RSP
          vs.

 SAMSUNG ELECTRONICS CO., LTD.;
 SAMSUNG ELECTRONICS AMERICA, INC.,                JURY TRIAL

                  Defendant.


     MOJO MOBILITY’S RESPONSE TO SAMSUNG’S OBJECTIONS TO THE
  MAGISTRATE JUDGE’S CLAIM CONSTRUCTION MEMORANDUM AND ORDER




 4857-3906-8868
Case 2:22-cv-00398-JRG-RSP            Document 198         Filed 06/12/24      Page 2 of 8 PageID #:
                                            34824



 I.       INTRODUCTION

          Samsung complains that Magistrate Judge Payne erred in his construction of only the four

 terms that Samsung suggests should be held indefinite. Yet Samsung’s Objections to the Claim

 Construction Order (Dkt. 175) (“Order”) merely rehash the arguments that were already

 considered and appropriately rejected by Judge Payne. Most importantly, Samsung has not shown

 that any of Judge Payne’s constructions are clearly erroneous or contrary to the law. See 28 U.S.C.

 636(b)(1)(A). Rather, Samsung is improperly using the objections as a vehicle to take a second

 bite at the claim-construction apple and a second bite at invalidity. The Court should deny

 Samsung’s objections and adopt Judge Payne’s report.

 II.      LEGAL STANDARD

          A party objecting to a Court’s Opinion and Order bears the burden of proving that the

 findings of the Magistrate Judge were clearly erroneous or contrary to the law. 28 U.S.C.

 636(b)(1)(A); Local Rule CV 72(b); see, e.g., Droplets, Inc. v. Overstock.com, Inc., No. 2:11-CV-

 401-JRG-RSP, 2014 WL 12638484, at *1 (E.D. Tex. Dec. 1, 2014) (Gilstrap, J.).

          Under Federal Rule of Civil Procedure 72 and 28 U.S.C. § 636, along with a large body of

 case law, a party is not entitled to raise new arguments in challenges to a district judge that were

 not raised in front of the Magistrate Judge. Paterson-Leitch Co. v. Mass. Mun. Wholesale Elec.

 Co., 840 F.2d 985, 990–91 (1st Cir. 1988) (adopted by the Fifth Circuit); Requena-Rodriguez v.

 Pasquarell, 190 F.3d 299, 307 (5th Cir. 1999) (a district court has the power to decide that legal

 arguments not raised before a magistrate judge are waived). A party “has a duty to put its best foot

 forward” before the Magistrate Judge—i.e., “to spell out its arguments squarely and distinctly.”

 Paterson-Leitch Co., 840 F.2d at 990–91. The reasons for this rule include that “[s]ystemic

 efficiencies would be frustrated and the magistrate’s role reduced to that of a mere dress rehearser,”

 and “it would be fundamentally unfair to permit a litigant to set its case in motion before the
                                                   1
 4857-3906-8868
Case 2:22-cv-00398-JRG-RSP           Document 198        Filed 06/12/24      Page 3 of 8 PageID #:
                                           34825



 magistrate, wait to see which way the wind was blowing, and—having received an unfavorable

 recommendation—shift gears before the district judge.” Id.

 III.     ARGUMENT

          A.      The constructions of “near a [first] resonant frequency” and “near a
                  resonance frequency” are not clearly erroneous.

          Samsung objects to the Order’s construction of “near a [first] resonant/[resonance]

 frequency” for the 500, 371, and 942 Patents because it allegedly does not resolve the meaning of

 that phrase with reasonable certainty. Dkt 175 at 1. Samsung states that the construction does not

 provide certainty on the term “near.” Id. at 1–2. This is the exact same argument that Samsung

 made in its briefing (Dkt. 61 at 14) and that has already been dispelled multiple times by the claim

 language of the Asserted Patents. See, e.g., Dkt. 65 at 2 (“Samsung cannot avoid that the claims

 require an ‘operating frequency within [a] range of frequencies,’ and that range must be: (i) ‘near

 a resonance frequency’ ‘(ii) such that increasing values of the operating frequency … correspond

 to a lower voltage or current” at an output of the receiver, ‘and (iii) that allow activation and

 powering of the receiver unit and charging the battery….’ See 371 Patent at Claim 1 (emphasis

 added).”); see also Dkt. 57 at n.5. These arguments were properly considered, in depth, by the

 Magistrate Judge in rejecting Samsung’s proposed construction. Order at 24–25. Rehashing

 arguments already disposed hardly meets the “clearly erroneous” standard.

          Further, Judge Payne properly considered the specification—contrary to Samsung’s

 assertions. Dkt. 175 at 2. Samsung briefed this issue and had arguments related to the specification

 support. Dkt. 61 at 14. Mojo dispelled these arguments and identified specification support that

 reiterates the claim language. See, e.g., Dkt. 57 at 6 (“For example, the 500, 371, and 942

 specifications each explain that ‘the frequency … can be changed to move the circuit into, and out

 of, resonance to create the appropriate voltage in the receiver’ and that ‘[h]igher drive frequency

                                                  2
 4857-3906-8868
Case 2:22-cv-00398-JRG-RSP            Document 198         Filed 06/12/24      Page 4 of 8 PageID #:
                                            34826



 corresponds to lower output power … and lower frequency corresponds to higher output power.’”);

 Order at 25–26. That the Magistrate Judge did not rule in Samsung’s favor does not mean he

 ignored Samsung arguments. To the contrary, Judge Payne properly examined this evidence. Id.

 Samsung should not have a “do over.” Pasquarell, 190 F.3d at 307.

          B.      The construction of “power parameter” is not clearly erroneous.

          Here again Samsung merely reiterates arguments already considered and rejected by the

 Magistrate Judge. Order at 27–30. The Court exhaustively considered the arguments and expressly

 rejected Samsung’s argument that the specifications provide no guidance on the term or are

 inconsistent. Id. Samsung makes no attempt to show how the Magistrate Judge’s reasoning was

 erroneous or that the law was incorrectly implied; Samsung just restates the same arguments about

 the different uses of the term. See Dkt 61 at 28–30, Dkt. 175 at 2–3. By restating the same

 arguments, Samsung has not shown that the Court clearly erred.

          The arguments raised in Samsung’s Objections do not identify any ambiguity in the Order’s

 construction of “power parameter.” Rather, Samsung argues that for the 208 patent, the Order’s

 construction “subsumes” other claim limitations. That is incorrect. One part of Claim 1 of the 208

 patent requires that the base unit “determine and regulate one or more of output voltage, current,

 or power ... to be within the range of one or more of a value of a required voltage, current, or other

 power parameter,” while another part of the claim requires that the system “periodically thereafter

 exchange information to provide power transfer to the device and/or battery, including device

 and/or battery charging or power status or presence.” 208 Patent, claim 1. These parts of the claim

 recite different limitations even considering the Court’s construction, and Samsung has not shown

 that under the Court’s construction “power parameter” has the same meaning as any other claim

 term.

          Similarly, the 371 Patent, claims 28 and 30, and the 942 Patent, claim 29, recite different
                                                   3
 4857-3906-8868
Case 2:22-cv-00398-JRG-RSP            Document 198        Filed 06/12/24     Page 5 of 8 PageID #:
                                            34827



 limitations relating to the “power parameter” and “exchange information” terms. These claims

 recite the use of a “power parameter” to “operate the drive circuit” and then also recite the

 communication of additional information, like that corresponding to “a presently induced output

 voltage or current of the receiver rectifier circuit.” E.g., 371 Patent at 80:43–54. Samsung has

 failed to show that any of the other terms cited have identical scope to “power parameter.”

          C.      The construction of “placed upon or close to” is not clearly erroneous.

          Samsung objects to the Order’s construction of “placed upon or close to” because allegedly

 the Order did not address relevant disclosures in the intrinsic record. Dkt. 175 at 3. Samsung seeks

 to sow confusion by pointing to embodiments in the specification that appear to contradict the

 Court’s construction. Id. at 4. But this argument was already addressed by Mojo (Dkt. 57 at 17–21

 and Dkt. 65 at 7–8) and the Court (Order at 38–39). Samsung’s regurgitation of arguments already

 considered does not show that Magistrate Judge Payne clearly erred.

          Samsung faults the Order for not explicitly addressing a passage from the patent

 specification that reads “one can obtain a working distance of several inches or feet depending on

 the application for the technology” by “increasing the frequency.” Dkt. 175 at 4; 208 Patent at

 16:24–34; 440 Patent at 16:45–56. As Mojo explained in its opening brief, however, this passage

 relates to low-power electronics like RFID. Dkt. 57 at 19 (citing 208 Patent at 16:24–34; 440 Patent

 at 16:45–56). In contrast, the Order found that “the claims and specification focus on higher-power

 mobile devices like cellular telephones, notebook computers, music players, or cameras, which

 would require more power and therefore closer proximity to the charger.” Dkt. 124 at 39 (citing

 208 Patent at 1:32–39, 15:23–36). Thus, the Order was right to select a shorter range when

 construing “placed upon or close to.”

          D.      The construction of “universal base unit” is not clearly erroneous.

          Samsung objects to the Order’s construction of “universal base unit” because it allegedly
                                                  4
 4857-3906-8868
Case 2:22-cv-00398-JRG-RSP            Document 198         Filed 06/12/24       Page 6 of 8 PageID #:
                                            34828



 reads “universal” out of the claim and conflicts with the intrinsic record. Dkt. 175 at 4–5. Samsung

 argues that the “[t]he construction restates the claim language surrounding ‘universal,’ except it

 removes the term ‘universal base unit for’ and replaces it with ‘base unit capable of,’ effectively

 construing ‘universal’ by crossing it out and giving it no meaning.” Id. The objection presents no

 novel information, nor any arguments as to why the Magistrate Judge’s decision is clearly

 erroneous. And, in fact, Samsung’s reiteration of its previous arguments still fails to consider the

 disputed term in the context of the surrounding claim language and the specification, which the

 Court properly analyzed. See, e.g., Order at 40–42; Dkt. 57 at 22–24.

          The Order’s construction of “universal” does not cross the term out as Samsung alleges.

 Rather, it explains that “universal,” in this context, means that the base unit is “capable of charging

 different mobile devices and/or batteries of different charging characteristics associated

 therewith.” This construction squares with how other courts have construed “universal” in similar

 contexts. See, e.g., Schrader Elecs., Inc. v. Cont’l Auto. Sys., US, Inc., No. 12-CV-10715, 2013

 WL 4567477, at *7 (E.D. Mich. Apr. 24, 2013) (construing “universal monitor” as “monitor which

 can be used with multiple different tire pressure monitoring systems”); Dkt. 27 at 22.

          While Samsung repeats its argument that a statement from the prosecution history requires

 that “universal base unit” exclude any charger that can charge only a single brand of device, the

 Order specifically addressed this argument and found that the statement cited by Samsung is

 “unclear” and “does not rise to the level of a clear and unambiguous disclaimer.” Order at 40–41;

 see Dkt. 65 (Reply) at 8.

 IV.      CONCLUSION

          The Court should adopt Judge Payne’s report.




                                                   5
 4857-3906-8868
Case 2:22-cv-00398-JRG-RSP           Document 198     Filed 06/12/24     Page 7 of 8 PageID #:
                                           34829



          Dated: June 12, 2024                      Respectfully submitted,


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 4857-3906-8868
Case 2:22-cv-00398-JRG-RSP            Document 198         Filed 06/12/24      Page 8 of 8 PageID #:
                                            34830



                                   CERTIFICATE OF SERVICE

          I certify that I served a true and correct copy of this document on all counsel of record by

 email on June 12, 2024.

                                                         /s/ Steven J. Pollinger
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 4857-3906-8868
